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                                         October 5, 2022

VIA ECF
Honorable Matthew J. Skahill, U.S.M.J.
U.S. District Court for the District of New Jersey
Mitchel H. Cohen Bldg. & U.S. Courthouse
4th & Cooper Streets
Camden, New Jersey 08101

        Re:      Bristol-Myers Squibb Company v. Xspray Pharma AB
                 Case No. 1:22-cv-0964 & 1:22-cv-4328 (RMB/MJS)

Dear Judge Skahill:

       This firm, together with Kirkland & Ellis, LLP, represents Plaintiff Bristol-Myers Squibb
Company (“BMS”) in the above-referenced matter. On behalf of BMS and Defendant, Xspray
Pharma AB, enclosed please find the proposed form of Order consolidating these cases and setting
an amended schedule of which the parties have agreed upon. Should the proposed consolidation
Order and amended schedule be acceptable to Your Honor, we respectfully request it be executed
and entered on the docket.

      As always, we thank the Court for its attention to this matter and are available should Your
Honor or Your Honor’s staff have any questions regarding the within.


                                             Respectfully submitted,

                                             s/Liza M. Walsh

                                             Liza M. Walsh


cc: All Counsel of Record (via ECF and email)
